
642 So.2d 1293 (1994)
Curtis WELCH, et ux
v.
STATE of Louisiana, DEPARTMENT OF TRANSPORTATION AND DEVELOPMENT, et al.
Michael Lynn CARTER
v.
STATE of Louisiana, DEPARTMENT OF TRANSPORTATION AND DEVELOPMENT, et al.
Richard Dale VERCHER
v.
STATE of Louisiana, DEPARTMENT OF TRANSPORTATION &amp; DEVELOPMENT et al.
No. 94-C-1452.
Supreme Court of Louisiana.
September 23, 1994.
Denied.
DENNIS, J., not on panel.
